  Case 19-31049        Doc 9     Filed 08/27/19 Entered 08/27/19 14:18:41              Desc Main
                                    Document    Page 1 of 3



                       UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

 IN RE                                                             Case No. 19-31049

 LINDA M. THUNBERG,                                                     Chapter 7

                 Debtor.


            RESPONSE TO MOTION FOR RELIEF FROM AUTOMATIC STAY

       A. Cotten Wright, the trustee in the above-referenced matter (the “Trustee”), hereby

responds to the Motion for Relief from Automatic Stay filed on August 22, 2019 (the “Motion”)

(D.E. 8) by Gart Brett Dobson (“Dobson”), through counsel, and respectfully represents as follows:

       1.      On July 31, 2019 (the “Petition Date”), the debtor in this case (the “Debtor”) filed

a voluntary petition for relief pursuant to chapter 7 of the U.S. Bankruptcy Code, initiating this

case. The Trustee was appointed to administer the Debtor’s case.

       2.      The meeting of creditors in the Debtor’s case is scheduled for September 4, 2019.

       3.      The Debtor listed among her assets in Schedule A/B a single-family home located

at 3213 Barlow Ct, Wilmington, NC 28403, ID No. RO6615-016-015-000, (the “Real Property”),

indicating that that it is titled solely in the Debtor’s name. The Debtor’s papers state that the value

of the Real Property was $352,367.00 as of the Petition Date and that the current tax value is

$262,800.00.

       4.      The Debtor’s papers indicate that the Real Property is unencumbered. The Debtor

claimed an exemption in the Real Property of $770.69.

       5.      According to the Debtor’s Statement of Financial Affairs (the “SOFA”), she has

not lived at the Real Property since February 28, 2018. The Debtor disclosed a pending action for

equitable distribution against Dobson in her SOFA, stating that her ex-husband has claimed a half-

interest in the Real Property.

                                                  1
  Case 19-31049        Doc 9     Filed 08/27/19 Entered 08/27/19 14:18:41             Desc Main
                                    Document    Page 2 of 3



       6.      The Debtor’s interest in the Real Property reflects property of the Debtor’s

bankruptcy estate.

       7.      In the Motion, Dobson argues that the New Hanover District Court is the

appropriate venue for property division issues to be resolved. Motion, ¶ 6. However, it is unclear

what property division issues there may be with respect to the Real Property given that it was

owned solely by the Debtor as of the Petition Date. The Motion provides no explanation as to

what, if any interest Dobson may claim entitlement to with respect to the Real Property—or any

other assets disclosed by the Debtor—that now are property of the bankruptcy estate.

       8.      The Trustee maintains that at this early stage in the Debtor’s case, it would not be

appropriate to grant relief from stay for any purpose. Rather, the Trustee should be afforded the

opportunity to examine the Debtor and to investigate the extent of her pre-petition property

interests that became bankruptcy estate property.

       WHEREFORE, the Trustee prays that the Court will enter an Order denying the Motion

and granting such further relief as is just and proper.

       This is the 27 day of August, 2019.

                                                          /s/ A. Cotten Wright
                                                          A. Cotten Wright (State Bar No. 28162)
                                                          Grier Wright Martinez, PA
                                                          101 N Tryon Street, Suite 1240
                                                          Charlotte, NC 28246
                                                          Phone: 704.332.0207
                                                          cwright@grierlaw.com




                                                  2
  Case 19-31049       Doc 9    Filed 08/27/19 Entered 08/27/19 14:18:41           Desc Main
                                  Document    Page 3 of 3



                     UNITED STATES BANKRUPTCY COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION

 IN RE                                                        Case No. 19-31049

 LINDA M. THUNBERG,                                                Chapter 7

               Debtor.


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the Response to Motion for Relief from Automatic
Stay was served by the Court’s electronic noticing system pursuant to Local Rule 5005-1(d) on
those parties who have registered for service in this case and on the following by United States
mail, postage pre-paid, addressed as indicated.

Kenneth Love
10590 Independence Pointe Pkwy
Suite 200
Matthews, NC 28105

       This is the 27 day of August, 2019.


                                                   /s/ A. Cotten Wright
                                                   A. Cotten Wright
                                                   Grier Wright Martinez, PA
                                                   101 N Tryon Street, Suite 1240
                                                   Charlotte, NC 28246




                                               1
